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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division



LISA E. HILL-GREEN,

               Plaintiffs


V.                                                            Civil Action No. 3:18CV873


CITIMORTGAGE,INC.

               Defendant.


                                              ORDER


       It is hereby ORDERED that the settlement conference and proceedings required by the

Order Setting Pretrial Conference are referred to United States Magistrate Judge Roderick C.

Young. Counsel shall be responsible for contacting the Chambers of Magistrate Judge Roderick

C. Young v^ithin five(5)days of the date ofthis Order to schedule the conference, which should

occur at least thirty (30)days before the start of the trial and at such time as Magistrate Judge

Roderick C. Young shall approve. Counsel shall abide by whatever further instructions or

requirements may be imposed by Magistrate Judge Roderick C. Young.

       Let the Clerk send a copy ofthis Order to Magistrate Judge Roderick C. Young and all

counsel of record.


       It is so ORDERED.



                                                                    M. Hj
                                                              United Statftstfis\rict Judge


Richmond, Virginia
Date; APR 2 4 2019
